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 6                      IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8                                           )    No. CV-14-00850-PHX-SPL
     Miguel A. Plascencia,
 9                                           )
                                             )
                     Plaintiff,              )    ORDER
10                                           )
     vs.
11                                           )
                                             )
     Driftwood Hospitality Management,       )
12   LLC, et al.,                            )
13                                           )
                                             )
                     Defendants.             )
14
15         Having considered the parties’ Stipulation of Dismissal (Doc. 46),
16         IT IS ORDERED:
17         1.     That all pending motions are denied as moot;
18         2.     That the Stipulation of Dismissal (Doc. 46) is granted;
19         3.     That this action is dismissed with prejudice in its entirety;
20         4.     That each party shall bear its own costs and attorneys’ fees; and
21         5.     That the Clerk of Court shall terminate this action.
22         Dated this 5th day of November, 2015.
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25                                                    Honorable Steven P. Logan
                                                      United States District Judge
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